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NATHAN DERSHOWITZ, Executor of the Estate of
MARILYN DERSHOWITZ, deceased,

   

 

CIVIL ACTION NO.:

   

Plaintiff,

 

COMPLAINT
-against-
THE UNITED STATES OF AMERICA,

Defendant.

Plaintiff, NATHAN DERSHOWITZ, by his attomey | GAIR, CONASON,
STEIGMAN, MACKAUF, BLOOM & RUBINOWITZ, complaining of the defendant,
respectfully sets forth and alleges as follows:
JURISDICTION

i This is an action for personal injuries founded, inter alia, upon wrongful death,

 

under the laws of the State of New York,

2. This action against THE UNITED STATES OF AMERICA (herein “USA”) arises
under the Federal Tort Claims Act 28 U.S.C. §§ 1346(b), 2671-80, as herein more fully appears.

VENUE and PARTIES

3, The plaintiff, NATHAN DERSHOWITZ (herein “plaintiff”), at all times herein
mentioned was and still is a citizen of the State of New York residing at 2 Tudor City Place, New
York, New York 10017.

4, The defendant, USA, is a party to this action by virtue of 28 U.S.C. §§ 1346(b)
and 2671, et seq.

5. The United States Postal Service (herein “USPS”) is an agency of defendant,

 
 

 

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USA.
PROCEDURAL HISTORY

6. Pursuant to 28 U.S.C. §2675(a) a claim dated November 7, 2011, alleging damage
due to personal injuries and the wrongful death sustained by plaintiff's decedent, MARILYN
DERSHOWITZ (herein “decedent”), against the USPS by virtue of the negligence, carelessness
and recklessness of the USPS, its agents, servants and employees, including Ian Clement, in the
ownership, use, operation, management, maintenance and contro! of a postal truck bearing USA
registration tag number 4871351, and in the ownership, use, operation, management,
maintenance, control and parking of a postal trailer bearing USA registration tag number
7025044, on or about July 2, 2011, was duly filed by plaintiff on or before November 8, 2011,
with the USPS, Attention: Charisse Wynn, Customer Service Analyst, 421 8" Avenue, New
York, New York 10199-9998.

7. More than six months have passed since the filing of plaintiff's aforesaid claim
and plaintiff's claim has not been finally disposed of by the USPS.

8. ‘This action is timely commenced pursuant to 28 U.S.C. §§2401 and 2675(a).

AS AND FOR A FIRST CAUSE OF ACTION

9, Plaintiff repeats and realleges each and every allegation contained in those
paragraphs of this Complaint marked and designated ‘“1" through “8” inclusive, with the same
force and effect as if herein set forth more fully at length.

10. Prior to the commencement of this action, and more particularly, on the 4" day of
August, 2011, plaintiff, NATHAN DERSHOWITZ, was appointed executor of the estate of

MARILYN DERSHOWITZ and duly granted Letters Testamentary on the goods, chattels and

 
 

 

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credits of MARILYN DERSHOWITZ, deceased, by order of the Hon. Nora 8. Anderson, New
York County Surrogates’s Court, was duly qualified as such and is now acting in said capacity.

11. At all times herein mentioned, defendant, USA’s agency, USPS, owned a postal
facility known as the Morgan Processing and Distribution Center, located at 341 Ninth Avenue,
New York, New York.

12. At all times herein mentioned, defendant, USA, its agency USPS, and their agents,
servants and employees managed, maintained, operated and controlled the postal facility known
as the Morgan Processing and Distribution Center, located at 341 Ninth Avenue, New York, New
York. |

13, Upon information and belief, that at all times herein mentioned, defendant, USA,
its agency USPS, and their agents, servants and employees managed, maintained and controlled
28" Street between 9" Avenue and 10" Avenue in the County, City and State of New York.

14, Upon information and belief, that at all times herein mentioned, defendant,
USA’s, agency, USPS, was the owner of a trailer bearing USA registration tag number 7025044.

15. Upon information and belief, that at all times herein mentioned, defendant, USA,
its agency USPS, and their agents, servants and employees managed, operated and controlled the
aforesaid trailer bearing USA registration tag number 7025044.

16. Upon information and belief, that at all times herein mentioned, defendant, USA,
its agency USPS, and their agents, servants and employees negligently parked the aforesaid
trailer bearing USA registration tag number 7025044.

17. Upon information and belief, that at all times herein mentioned, defendant, USA,

its agency USPS, and their agents, servants and employees negligently parked the aforesaid

 
 

 

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trailer bearing USA registration tag number 7025044 in bay 2907 at the Morgan Processing and
Distribution Center, located on the north side of West 29" Street between 9 Avenue and 10°
Avenue, in the County, City and State of New York, in such a way that said trailer protruded into
the right driving lane of West 25" Street, causing an unsafe, dangerous and hazardous condition
for motorists, bicyclists and pedestrians.

18. Upon information and belief, that at all times herein mentioned, defendant, USA,
its agency USPS, and their agents, servants and employees knew or should have known that the
aforesaid negligently parked trailer created an unsafe, dangerous and hazardous condition for
motorists, bicyclists and pedestrians on West 29"" Street between 9" Avenue and 10" Avenue.

19. Upon information and belief, that at all times herein mentioned, defendant,
USA’s, agency, USPS, was the owner of a postal track bearing USA registration tag number
4871 351.

| 20. Upon information and beltef, that at all times herein mentioned, defendant, USA,
its agency USPS, and their agents, servants and employees managed, operated and controlled the
aforesaid postal truck bearing USA registration tag number 4871351.

21. Upon information and belief, that at all times herein mentioned, Ian Clement was
an employee of defendant, USA.

22, Upon information and belief, that at all times herein mentioned, Ian Clement was
acting in the course and scope of his employment with defendant, USA.

23. Upon information and belief, that at all times herein mentioned, Ian Clement was
an employee of USPS.

24, Upon information and belief, that at all times herein mentioned, Ian Clement was

 
 

 

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acting in the course and scope of his employment with USPS.

25. Upon information and belief, that at afl times herein mentioned, lan Clement
managed, operated and controlled the aforesaid postal truck bearing USA registration tag number
4871351.

26. Upon information and belief, that at all times herein mentioned, lan Clement was
operating the aforesaid truck bearing USA registration tag number 4871351, with the permission
and consent of defendant, USA and its agency, USPS.

27. That on July 2, 2011, plaintiff's decedent was a bicyclist proceeding west on West
29" Street, between 9 Avenue and 10" Avenue in the County, City and State of New York.

28, That on July 2, 2011, while plaintiff's decedent was a bicyclist proceeding west
on West 29" Street, between 9" Avenue and 10° Avenue, she encountered the above referenced
trailer bearing USA registration tag number 7025044 parked in bay 2907 at the Morgan Facility
located on the north side of West 29" Street between 9" Avenue and 10 Avenue, which was
parked in such a way that said trailer protruded into the right driving lane of West 29" Street
causing an unsafe, dangerous and hazardous condition for motorists, bicyclists and pedestrians.

29. That on July 2, 2011, the aforesaid postal truck bearing USA registration tag
number 4871351, and operated by Ian Clement, struck the decedent on her bicycle at the above
referenced location.

30. That the aforesaid occurrence was caused or contributed to by the negligence,
carelessness and recklessness of defendant, USA, its agency USPS, and their agents, servants and
employees, including, but not limited to, lan Clement, in their ownership, use, management,

maintenance, operation and control of the aforesaid truck; in their ownership use, management,

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maintenance, operation, control and parking of the aforesaid trailer, in failing to implement a safe
and reasonable traffic safety plan at and near the Morgan Facility for bicyclists and pedestrians;
in carelessly, negligently and recklessly managing postal traffic and parking at and near the
Morgan Facility; and in their use, management, maintenance, operation and control of West 29"
Street between 9 Avenue and 10" Avenue.

31. That by reason of the foregoing, plaintiff's decedent died on July 2, 2011.

32. That by reason of the foregoing, plaintiff's decedent left surviving as next of kin
her husband, Nathan Dershowitz, and her children, Adam Dershowitz and Rana Dershowitz.

33. That by reason of the foregoing, plaintiffs decedent sustained a serious injury as
defined in §5102(d) of the Insurance Law of the State of New York.

34. That by reason of the foregoing, plaintiff's decedent has sustained economic loss
creater than basic economic loss as defined in §5102 of the Insurance Law of the State of New
York.

35. It is hereby alleged pursuant to CPLR 1603 that the foregoing cause of action is
exempt from the operation of CPLR 1601 by reason of one or more of the exemptions provided
in CPLR 1602, including but not limited to, CPLR 1602(6), on the grounds that defendants were
negligent in the use, operation and ownership of a motor vehicle and CPLR 1602(7), on the
grounds that defendants acted in reckless disregard for the safety of others and in doing so caused
the decedent’s injuries and death.

36. By reason of the foregoing, plaintiff has been damaged in the sum of FIFTEEN

MILLION ($15,000,000.00) DOLLARS.

 
 

 

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AS AND FOR A SECOND CAUSE OF ACTION
AGAINST ALL DEFENDANTS

37, The plaintiffs repeat, reiterate, and reallege each and every allegation contained in
those paragraphs of this complaint numbered “1” through “36” inclusive, with the same force and
effect as if fully set forth at length herein.

38. That by reason of the foregoing, from the time of the accident on July 2, 2011,
through the time of her death, plaintiff's decedent, MARILYN DERSHOWITZ, sustained,
among other things, pre-impact terror, fear of impending injury and death, severe injuries to her
head, limbs, and body, including, but not limited to, fractures, a severe shock to her nervous
system, certain internal injuries and was caused to suffer severe physical pain and mental anguish
as a result thereof, and expended or became obligated to expend sums of money for medical
expenses,

39. It is hereby alleged pursuant to CPLR 1603 that the foregoing cause of action is
exempt from the operation of CPLR 1601 by reason of one or more of the exemptions provided
in CPLR 1602, including but not limited to, CPLR 1602(6), on the grounds that defendants were
negligent in the use, operation and ownership of a motor vehicle and CPLR 1602(7), on the
grounds that defendants acted in reckless disregard for the safety of others and in doing so caused
the decedent’s injuries and death.

40. By reason of the foregoing, plaintiff has been damaged in the sum of TWO
MILLION ($2,000,000.00) DOLLARS.

PRAYER FOR RELIEF

WHEREFORE, the plaintiff demands judgment against the defendant, THE

 
 

 

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UNITED STATES OF AMERICA on the First Cause of Action in the sum of FIFTEEN
MILLION ($15,000,000.00) Dollars and in the Second Cause of Action in the sum of TWO
MILLION ($2,000,000.00) Dollars, together with interest and the costs and disbursements of this

action.

Dated: New York, New York
November 27, 2012

Yours, etc.,

GAIR, GAIR, CONASON, STEIGMAN,
MACKAUF, BLOOM & RUBINOWITZ,
Attorneys for Plaintiff

PETER J. SAGHIR (PS4276)
80 Pine Street, 34" Floor
New York, New York 10005
(212) 943-1090

 
 

 

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ATTORNEY'S VERIFICATION

STATE OF NEW YORK _ )
) s8.:
COUNTY OF NEW YORE )

PETER J. SAGHIR, an attorney at law licensed to practice in the courts of the State of
New York, states that affirmant is associated with the firm of Gair, Gair, Conason, Steigman,
Mackauf, Bloom & Rubinowitz, attorneys for the plaintiffs in the within action; that affirmant
has read the foregoing

VERIFIED COMPLAINT
and knows the contents thereof; and that the same is true to affirmant's own knowledge except as
to those matters therein stated to be alleged on information and belief and that as to those
matters, affirmant believes them to be true.

Affirmant further states that the reason this verification is made by affirmant and not by
the plaintiffs is that the plaintiffs are not within the County wherein affirmant maintains his
office.

The grounds of affirmant's belief are investigation and data in affirmant's possession and
consultations had with the plaintiffs.

The undersigned affirms that the foregoing statements are true under penalty of perjury.

Dated: New York, New York
November 27, 2012

PETER J. SAGHIR (PS4276)

 

 
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